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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA

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11   CLIFFORD A. ROSEN, an individual;
12   RONALD A. CHRISTENSEN, an                Case No. 8:20-cv-01973-JLS-DFM
     individual
13
                                              ORDER GRANTING
                                  Plaintiffs, STIPULATION TO CONTINUE
14
15                                            THE FINAL PRETRIAL
                      vs.                     CONFERENCE (Doc. 297)
16
17   URBAN COMMONS, LLC, a Delaware
     Limited Liability Company; URBAN
18   COMMONS 6TH AVE SEATTLE, LLC, a
     Delaware Limited Liability Company;
19   URBAN COMMONS BATTERY PARK,
     LLC, a Delaware Limited Liability
20   Company; CHICAGO ANALYTIC
     TRADING COMPANY, LLC, d/b/a
21   LITTLERIVER CAPITAL, LLC, a
     Delaware Limited Liability Company;
22   DIGITAL CAPITAL MARKETS, LLC, a
     Maryland Limited Liability Company;
23   TAYLOR WOODS, an individual;
     HOWARD WU, an individual; C. BRIAN
24   EGNATZ, an individual; and DOES 1
     through 10, inclusive
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26                               Defendants
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         The Court, having considered the Stipulation to Continue the Final Status
 3   Conference and finding good cause therefore hereby orders as follows:
 4         1. That the Stipulation to Continue the Final Pretrial Conference is GRANTED;
 5         2. That the Final Pretrial Conference shall be continued from January 20, 2023, to
 6         February 24, 2023.
 7         3. That the first responsive pleading by Defendant Jason Birt is hereby extended to
 8         January 16, 2023.
 9                                    IT IS SO ORDERED.
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13   Dated: December 21, 2022                  By: ____________________
                                                  HON. JOSEPHINE L. STATON
14                                                UNITED STATES DISTRICT JUDGE
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